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UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA
Michael T Torrone, Jr.,
Plaintiff(s),
vs. Case Number: l7-cv-00534-CVE-FHM
Safeco lnsurance Company of America,

Defendant(s).

SETTLEMENT CONFERENCE REPORT

On 4/12/2018 a Settlernent Conference Was held in the captioned matter.

lE/`The litigation Was settled; Within § § days of the
date hereof, the Plaintiff and Defendant shall file:

-- a Stipulation of Dismissal
OR
-- Agreed Judgment and
Motion to Enter Agreed Judgrnent

m The litigation was not settled.

m Settlernent negotiations are pending The parties are to phone the undersigned
by _: _p.m. on , 2018.

DATED: 4/12/2018.

A. Scott McDaniel
Adjunct Settlement Judge

Settlement Confemce Repol‘t (SC-03 10/10)

